Case 1:04-cr-10032-GAO Document 104 Filed 07/30/18 Page 1 of 2

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(7/93)

United States District Court
for the District of Massachusetts
Report on Offender Under Supervision

Name of Offender: Victor Delgado Case Number: 0101 1:04CR10032
Name of Sentencing Judicial Officer: Honorable George A. O'Toole, Sr. U.S. District Judge

Date of Original Sentence: 11/8/04
Date of Revocation Sentence: 10/4/17

Original Off`ense: Conspiracy to Distribute Heroin, in violation of 21 U.S.C. § 846; Possession W/Intent to
Distribute Heroin in violation of 21 U.S.C. 84l(a)(l); Felon in Possession of Firearm, in violation of 18 U.S.C.

§ 922(3)(1)
Original Sentence: 168 months of imprisonment to be followed by 48 months of supervised release
Revocation Sentence: Five months of imprisonment to be followed by 12 months of supervised release

Type of Supervision: Supervised Release Date Supervision Commenced: 11/7/13
Date Supervision Re-commenced: 11/16/ 17

 

NON-COMPLIANCE SUl\/IMARY

Violation Number Nature of Noncompliance

I Violation of Mandatog Condition: The defendant shall not commit another Federal,
State or local crime.

II Violation of Standard Condition #7: The defendant shall refrain from excessive use
of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances,
except as prescribed by a physician.

On 7/15/18, the Lawrence, MA police responded to a report of a possible motor vehicle
accident in the area of 530 Broadway Street, Lawrence, MA. Upon their arrival, officers
reportedly observed a motor vehicle running with its headlights on that was parked in front
of 530 Broadway Street. Victor Delgado was found sitting unconscious in the driver’s seat
of that vehicle. His breathing was shallow, his pulse was faint and his pupils were
pin-pointed. Based on this information and concern about overdose, the officers
administered two doses of Narcan and Mr. Delgado eventually regained consciousness
I-Ie was transported to the Lawrence General Hospital for medical treatment. The officers
learned that the motor vehicle he was seated in was not properly registered, inspected or
insured. Based on this information, the officer issued Mr. Delgado citations for:
Operating a Motor Vehicle with a Suspended License; Attaching Wrong Plates; Uninsured
Motor Vehicle; Unregistered Motor Vehicle; and No Inspection Sticker. These matters
remain pending.

On 7/17/18, the Probation Office spoke with Mr. Delgado about the above referenced

Case 1:04-cr-10032-GAO Document 104 Filed 07/30/18 Page 2 of 2

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Prob 12A -2- Report on Offender Under Supervision

incident and he admitted to using what he believed to be cocaine.

U.S. Probation Officer Action:

The Probation Office has followed up with Mr. Delgado to address this issue. We have spoken with the sober
house manager where Mr. Delgado continues to reside and they are aware of the incident and providing him with
recovery support. Additionally, he continues in substance use disorder treatment at Bridgewell in Lynn, MA and
we are working with Bridgewell to ensure that he is enrolled in the appropriate level of care and treatment Mr.
Delgado’s drug testing frequency will also be increased. Given that he has admitted to the drug use, is presenting
as committed to recovery and is engaged in treatment, we respectfully recommend that no court action be taken at
this time and the Probation Office will keep the Court apprised of any further developments

 

Reviewed and approved by: Respectf`ully submitted,
/s/Andrew .]. Laudate /s/ T?romas C. Mullen III
Andrew J. Laudate by Thomas C. Mullen, III
Supervising U.S. Probation Officer Senior U.S. Probation Officer
Date: 7/30/2018

 

No liespanse is necessary unles.r the caurl directs that additional action be taken as jbllows:

VC] Approved - No court action at this time
] Submit a Request for Modifying the Conditions or Term of Supervision

[ ] Submit a Request for Warrant or Summons
[ ] Other

 

Signay\fre of Judi'cial Officer"

?_/Sv// r

Date

 

